Case 9:20-md-02924-RLR Document 7334 Entered on FLSD Docket 08/19/2024 Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                      MDL No. 2924
   PRODUCTS LIABILITY                                                               20-MD-2924
   LITIGATION
                                                          JUDGE ROBIN L. ROSENBERG
                                                 MAGISTRATE JUDGE BRUCE E. REINHART

   ________________________________/

   THIS DOCUMENT RELATES TO:

   Oldham v. Sanofi-Aventis, 9:24-CV-80433


           ORDER GRANTING DEFENDANTS’ FOURTH CONSOLIDATED MOTION
                             PURSUANT TO PTO 84

           THIS CAUSE came before the Court on the Defendants’ Fourth Consolidated Motion

   Pursuant to PTO 84 at docket entry 7320. For the reasons set forth in the Motion which the Court

   adopts and incorporates herein and the Plaintiff’s failure to file any response, the Court GRANTS

   the Motion and finds that Plaintiffs in the above-referenced actions have failed to meet their

   obligations under the pretrial orders of this Court.

           Accordingly, the above-referenced actions are HEREBY DISMISSED WITH

   PREJUDICE. The Clerk of the Court shall docket a copy of this Order in each of the cases

   referenced above.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 19th day of August,

   2024.

                                                          _____________________________
                                                          Honorable Robin L. Rosenberg
                                                          UNITED STATES DISTRICT JUDGE
